Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 1 of 10 Page ID #:116



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 9 Attorneys for Plaintiff Wyndham Vacation Resorts, Inc.
10                         UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA,
                                WESTERN DIVISION
12
13
   WYNDHAM VACATION RESORTS,                       Case No. 18-cv-09306-CJC-AFM
14 INC., a Delaware corporation,
                                                   APPLICATION FOR ENTRY OF
15                                                 DEFAULT AGAINST TIMESHARE
                      Plaintiff,                   RELIEF, INC., also known as TIME
16       vs.                                       SHARE RELIEF, INC.
17
   TIMESHARE RELIEF, INC., also known
18 as TIME SHARE RELIEF, INC., a
19 California corporation,
20                     Defendant.
21
22
23         To the Clerk of the United States District Court for the Central District of
24
     California:
25
           As provided by Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff
26
27 Wyndham Vacation Resorts, Inc. (“WVR”) requests that the Clerk enter the default of
28
                                               1                                RECYCLED PAPER
                   APPLICATION FOR ENTRY OF DEFAULT BY CLERK F.R.Civ.P. 55(a)
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 2 of 10 Page ID #:117



 1 the Defendant, Timeshare Relief, Inc. also known as Time Share Relief, Inc. (“TSR”)
 2
     for failure to plead or otherwise defend against this action in a timely manner.
 3
 4         1.     As evidenced by the proof of service on file with this Court, TSR was

 5 served pursuant to Rule 4 of the Federal Rules of Civil Procedure on January 9, 2019
 6
   (ECF No. 19).
 7
 8       2.    The applicable time limit for TSR to appear or otherwise respond to this

 9 action expired on January 30, 2019.
10
         TSR has failed to plead or otherwise respond to the complaint. This request is
11
12 based on the attached Declaration of counsel for the WVR.
13
     Dated: February 4, 2019                        Respectfully submitted,
14
                                                    K&L Gates, LLP
15
16                                                  By:   /s/ Jonathan Kintzele
                                                          DANIEL M. ELIADES
17                                                        JONATHAN KINTZELE
18                                                        Attorneys for Plaintiff
                                                          WYNDHAM VACATION
19                                                        RESORTS, INC.
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                                                2                                 RECYCLED PAPER
                   APPLICATION FOR ENTRY OF DEFAULT BY CLERK F.R.Civ.P. 55(a)
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 3 of 10 Page ID #:118



 1
 2                      DECLARATION OF DANIEL M. ELIADES
 3         I, Daniel Eliades, declare as follows:
 4         1.    I am a partner with the law firm of K&L Gates LLP, attorneys of record
 5 in this matter for Plaintiff, Wyndham Vacation Resorts, Inc. (“WVR”). I submit this
 6 Declaration in support of Plaintiff’s Application for Entry of Default Pursuant to Rule
 7 55(a) of the Federal Rules of Civil Procedure.
 8         2.    I have personal knowledge of the facts set forth herein and, if called upon
 9 as a witness could and would testify competently under oath as to all such facts.
10         3.    Defendant, Timeshare Relief, Inc. also known as Time Share Relief, Inc.
11 (“TSR”), was served pursuant to Rule 4 of the Federal Rules of Civil Procedure on
12 January 9, 2019, when David MacMillan, registered agent for service of process for
13 TSR, appeared at our office for a deposition in the matter of WVR v. David MacMillan
14 and Cynthia Martin, consolidated adversary proceeding, Case No. 17-ap-01229.
15         4.    During that deposition, I personally served by hand David MacMillan
16 with the summons and complaint. This is evidenced by the proof of service on
17 file with this Court (ECF No. 23).
18         5.    Under Rule 12, TSR was required to plead or otherwise respond to the
19 complaint by January 30, 2019.
20         6.    The time to plead or otherwise respond to the complaint has not been
21 extended by any agreement of the parties or any order of the Court.
22         7.    TSR has failed to serve or file a pleading or otherwise respond to the
23 complaint. The applicable time limit for responding to the complaint has expired.
24         8.    I have attached to this declaration as Exhibit A a true and correct copy of
25 the amended proof of service on file with this Court for the above-named Defendants.
         //
26       //
27       //
         //
28
                                              3                              RECYCLED PAPER
                   APPLICATION FOR ENTRY OF DEFAULT BY CLERK F.R.Civ.P. 55(a)
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 4 of 10 Page ID #:119



 1         //
 2         I declare under penalty of perjury that the foregoing is true and correct.
 3
 4 Dated: February 4, 2019                          Respectfully submitted,
 5                                                  K&L Gates, LLP
 6
                                                    By:   /s/ Jonathan Kintzele
 7                                                        JONATHAN KINTZELE
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                   APPLICATION FOR ENTRY OF DEFAULT BY CLERK F.R.Civ.P. 55(a)
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 5 of 10 Page ID #:120




                    EXHIBIT A
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 6 of 10 Page ID #:121
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 7 of 10 Page ID #:122
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 8 of 10 Page ID #:123
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 9 of 10 Page ID #:124
Case 2:18-cv-09306-CJC-AFM Document 24 Filed 02/04/19 Page 10 of 10 Page ID #:125



  1                                 CERTIFICATE OF SERVICE
  2                                                                      18-cv-09306-CJC-AFM
  3
                I am employed in the county of Los Angeles, State of California. I am over the
  4
      age of 18 and not a party to the within action; my business address is: K&L GATES
  5
      LLP, 10100 Santa Monica Boulevard Eighth Floor, Los Angeles, CA 90067.
  6
                On February 4, 2019, I served the document(s) described as:
  7
           1. APPLICATION FOR ENTRY OF DEFAULT AGAINST TIMESHARE
  8           RELIEF, INC., also known as TIME SHARE RELIEF, INC
  9        2. DECLARATION OF DANIEL M. ELIADES
           3. AMENDED PROOF OF SERVICE OF SUMMONS AND COMPLAINT
 10
      on the interested parties in this action by delivering a true copy thereof enclosed in
 11
      sealed envelope(s) addressed as follows:
 12
    Registered Agent for Service of Process for Defendant TSR,
 13             David MacMillian
 14             201 Spindrift Dr.
                Rancho Palos Verdes, CA 90275
 15
       BY MAIL: I placed for collection and processing such envelope(s) to be
 16       deposited in the mail at Los Angeles, California with postage thereon fully
 17       prepaid to the office of the addressee(s) as indicated above. I am “readily
          familiar” with this firm’s practice of collection and processing correspondence
 18       for mailing. It is deposited with the U.S. Postal Service on that same day, with
          postage fully prepaid, in the ordinary course of business herein attested to. I
 19       am aware that on motion of party served, service is presumed invalid if postal
          cancellation date or postage meter date is more than one day after the date of
 20       deposit for mailing in affidavit.
 21
 22             I declare under penalty of perjury under the laws of the United States of
 23 America that the foregoing is true and correct.
 24             Executed on February 4, 2019, at Los Angeles, California.
 25
 26
 27
 28                                                         Jonathan D. Kintzele
                                                    2                                 RECYCLED PAPER
                                            PROOF OF SERVICE
      302834027 v1
